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 5
     ANN MARIE VANCE
 6

 7

 8                                 UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                        Case No.: 2:17-CR-237 JAM
12
                      Plaintiff,
13
     vs.                                              STIPULATION AND ORDER
14                                                    CONTINUING STATUS CONFERENCE
     ANN MARIE VANCE,                                 AND EXCLUDING TIME UNDER THE
15                                                    SPEEDY TRIAL ACT
16                    Defendant.
                                                      Date:       April 9, 2019
17                                                    Time:       9:15 a.m.
                                                      Court:      Hon. John A. Mendez
18

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21          Plaintiff United States of America by and through Assistant United States Attorney
22
     Timothy Delgado, and Attorney Todd Leras on behalf of Defendant Ann Marie Vance, stipulate
23
     as follows:
24
            1. This matter is presently set for a status conference/change of plea hearing on April 2,
25

26                 2019.

27          2. By this stipulation, Defendant Vance moves to continue the matter for one week for a
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28   CONFERENCE
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 1              change of plea hearing on April 9, 2019. The government has provided Ms. Vance
 2
                with a proposed plea agreement. She intends to accept it but is requesting additional
 3
                time to discuss legal matters related to her change of plea with her counsel.
 4
          3. Ms. Vance is presently held in pre-trial detention at the Wayne Brown Correctional
 5

 6              Facility in Nevada City, California, a distance of approximately sixty-five miles and

 7              slightly more than an hour drive from her counsel’s office. Attorney Leras met with
 8
                Ms. Vance in Nevada City on Monday, March 25, 2019. The purpose of the meeting
 9
                was to review the plea agreement, prepare for the change of plea hearing, and answer
10
                Ms. Vance’s questions related to the implications of the recently-enacted First Step
11

12              Act on her potential sentence. Ms. Vance learned that same morning, March 25,

13              2019, that her father had been admitted to hospice care and that it was anticipated that
14
                he would pass away in a matter of hours. Given that upsetting news, Ms. Vance was
15
                not in the frame of mind required to participate in an important meeting regarding
16
                resolution of her case. Ms. Vance’s father died within hours of that meeting on
17

18              March 25, 2019.

19        4.     Defendant Vance therefore requests to continue her status conference/change of
20
                plea hearing to April 9, 2019, at 9:15 a.m., and to exclude time between April 2, 2019
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                and April 9, 2019 under Local Code T-4. The additional time is needed to ensure that
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                Ms. Vance is fully apprised of her potential defenses, the consequences of a change of
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24              plea, and that her questions related to how provisions of the First Step Act impact her

25              potential sentence are answered. The United States does not oppose this request.
26
          5. Attorney Leras represents and believes that failure to grant additional time as
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 1               requested would deny Defendant Vance the reasonable time necessary for effective
 2
                 preparation, considering the exercise of due diligence.
 3
             6. Based on the above-stated facts, Defendant Vance requests that the Court find that the
 4
                 ends of justice served by continuing the case as requested outweigh the best interest
 5

 6               of the public and the Defendant in a trial within the time prescribed by the Speedy

 7               Trial Act.
 8
             7. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
 9
                 seq., within which trial must commence, the time period of April 2, 2019 to April 9,
10
                 2019, inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), and (B)
11

12               (iv) [Local Code T-4] because it results from a continuance granted by the Court at

13               Defendant Vance’s request on the basis that the ends of justice served by taking such
14
                 action outweigh the best interest of the public and the Defendant in a speedy trial.
15
             8. Nothing in this stipulation and order shall preclude a finding that other provisions of
16
                 the Speedy Trial Act dictate that additional time periods are excludable from the
17

18               period within which a trial must commence.

19           Assistant U.S. Attorney Timothy Delgado has authorized Todd Leras via email to sign
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     this stipulation on his behalf.
21
     DATED: March 28, 2019
22                                                         By      Todd D. Leras for
                                                                   TIMOTHY DELGADO
23
                                                                   Assistant United States Attorney
24
     DATED: March 28, 2019
25                                                         By      /s/ Todd D. Leras
                                                                   TODD D. LERAS
26
                                                                   Attorney for Defendant
27                                                                 ANN MARIE VANCE
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 1                                                ORDER
 2
            BASED ON THE REPRESENTATIONS AND STIPULATION OF THE PARTIES, it is
 3
     hereby ordered that the status conference/change of plea hearing in this matter, scheduled for
 4
     April 2, 2019, is vacated. A new change of plea hearing is scheduled for April 9, 2019, at 9:15
 5

 6   a.m. The Court further finds, based on the representations of the parties and Defendant Vance’s

 7   request, that the ends of justice served by granting the continuance outweigh the best interests of
 8
     the public and the defendants in a speedy trial. Time shall be excluded under the Speedy Trial
 9
     Act, 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T-4, to allow necessary attorney preparation
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     taking into consideration the exercise of due diligence for the period from April 2, 2019, up to
11

12   and including April 9, 2019.

13

14
     DATED: March 28, 2019
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                                                       /s/ John A. Mendez
17
                                                       HONORABLE JOHN A. MENDEZ
18                                                     UNITED STATES DISTRICT JUDGE

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     ORDER CONTINUING STATUS
28   CONFERENCE
